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UNITED STATES BANKRUPTCY COURT
MlDDLE DISTRICT OF FLORIDA - TAl\/IPA DIVISION

iN RE: CASE NO.: 8117~bk-lO721-CPM
CHAPTER: 7
Roland K. Mal<;i,

Debtor.

LIMITED OBJECTION TO TRUSTEE’S MOTION TO SELL REAL PROPERTY
SUBJECT TO ALL ENCUMBRANCES, LIENS AND INTERESTS AND
SOLICITATION OF GREATER OFFERS
(PROPERTY ADDRESS: 7226 JENNER AVENUE.

NEW PORT RICHEY. FL()RIDA 34655-3131)

Secured Creditor, Banlc of Arnerica, N.A., (“Secured Creditor”) by and through its
undersigned counsel hereby submits its Lirnited Objection to Trustee’s Motion to Sell Real
Property known as 7226 Jenner Avenue, New Port Richey, Florida 34655-3131 (“Property”) and
states as follows:

l. Bank of America, N.A., holds the first mortgage on the Property pursuant to a Note and
l\/iortgage dated December 29, 2006 in the principal amount of $79,920.00 (“Note” and
“l\/lortgage” respectively), herein attached to as Exhibits A and B.

2. Trustee is seeking to sell the instant Property subject to all encumbrances, liens and
interests The Trustee does not make any warranties regarding existing liens on the property.

3. Secured Creditor asserts that it has a first mortgage lien on the property.

4. While Secured Creditor does not oppose Trustee’s Motion, Secured Creditor requests
protective language be included in the Order which provides that Secured Creditor’s lien remain
valid and enforceable notwithstanding the sale. Further, Secured Creditor requests the deed

specifically provide that the transfer of title is subject to the lien of Bank of Arnerica, its

successors and/or assigns

04-087137£00

 

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IHEREBY certify that a true and correct copy of the Limited Objection to Trustee’s

Motion to Sell Real Property Subj ect to Ali `Encumbrances, Liens and lnterests and Solicitation

of Greater Offers was delivered to the addressees on the attached mailing list by First Class U. S.

Mail postage pre-paid and/or electronic mail this 2nd day of March, 2018.

MA]LING LIST

Attorney for Debtor
Gary H. Baker, Esq.
Gary H. Bal<er, P.A.
2470 Sunset Point Road
Clearwater, Fl 33765

Debtor

Roland K. Maki

1201 angswood Drive
Clearwater, FL 33759

Trustee

Christine L. Herendeen
P.O. Box 152348
Tampa, FL 33684

U.S. Trusfee

U.S. Trustee

United States Trustee - TPA'T/ 13
Tilnberlake AnneX, Suite 1200
501 East Polk Street

Tarnpa, FL 33 602

04-087137-B00

FRENKEL LAMBERT WEISS WEISMAN &
GORDON, LLP

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EXHIBIT

 

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- NOTE ll

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7226 JENNE?§ AVENUE, NEW PORT F%lcllEV, Fi. edeee

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[Property Addrees]i _

l. BOR.ROWER’S PROMISE TO PAY
l lnretum for a loan t§ia'tflhave reoeivecl, Ipreinise to pay U.S.$ § 79 ,920 , 00 liable amount in called
"Prlneipal"), plus interesta te the order of tile Lencler. TlieLencier le eANK cF AMER ICA, N . A,

I will make all payments under this Note in the form of eash, cheek er oney orderI
l l understand that the lender may transfer this Nete. The `l..ender cr anyone who takes this Nete lay transfer and Who
is entitled to receive payments end er this Nete is called the "Nete Holdéf'. "

2. ]NTEILES’I’

interest Will be charged on unpaid principal until tire full amount 'ol Prinelpal lies been paid I will pay interest at a
yearly rate et e . s en %. l

The interest rate required by this Seotion 2 is the cruel will pay both before and after any default described in Seetlen
6{13) cl thin Netel l
B.PAYMENTS '

(A) 'l`ime and Piaoe of Payments 1

l Will pay principal and interest by making a eaym eat every menth.

lell maine my meritlin payment annie 1ST day el each month beginning on FEBPIUAFW et , 20 07 .
I will malice these payments every month untill have paid all of the principal and interest and any other ohargee'€ieseribed
below thetl may owe under this Note. Eaeh monthly payment Will be; applied as et ita scheduled due date and Wili be
applied re mrerestberere?rnwipal. lr, on JANuAnv 01 , war , 1 mill owe amounts under
this Note, I will pay those amounts in full onthat datef Whlehin called the "I\)§eturity])ate. "

lwill make my monthly payments at BANK er AMER ch, P .`G,. neil acme , GE TZV l L LE, NY

14068~9009 or st a different place iii required by the Note Holder.
(]3) Amount of lelanthly Paymente
My monthly payment will be in the amount ci U.S.$ 5 O,PS . 15 .

4. sometime mem tro PREPAY l

l HAVE THE RiGilT `l'D MAKE PAYMENTS O? PBiNEi|FAi. A`i ANl' 'l`li\iE BEFUHE¢THE\' Ali§ DUE. A PF\‘{MENT OF PBil‘iLii?/ii. DNLY 13
Ki\iD‘iiN AS i\ "PRF:PAYMENT," ‘HHEN l WXKE A PREFAYMEN'T, 1 l'ill.L TELL THE NUTE li LDER iii iiHii'iNG THP»T l AM Uiiil~li§ SU. l M/\‘f
NO`§ DESIGN"\TE A P!\‘iiiii?l"ll` AS A FiiEi’Ai*i:lENi` lF l HAVE Nil"l M'iDE ALl. Tl'ii`§ l.iUNTHLY§PP»YMENT-S DUE UNDEF\ `[Hl$ NCTE.

| iiii\i' W\KE h FULL FHEPAYMENT Uil PAR`§\AL PHEPAYMENT WITliOUi' i”"AYil\ili Al\i\' REPAYMENT i»`i‘iilliiili» P\FTER FAY|NG .¢N`i LATE
FEES Dli OUT€TAN|JENG FEES THF\T | GiiiE. Ti-iE NOTE iilii.UEFi l?ilLL USE }.iY FREFA‘(M§N'?$ `lO REDUCE THE PMUUNT UF FHiNi$lPAL THAT l
Uiilii UNDl':i`i 'iiilS NUTE. i'iUVi€\’iiii, THE i\lOTE HO[.DEH MAY AFPLY iii PliEPA‘l'iv'>lil\i`i Ti] lliii‘. ACCRUED N‘ID UNPA\D iNTiZREST GN THE
PHEFA`I'MENT NiiOUNT HEFORE F\PPLY|NG i.‘i`l' PF\EPA‘{MENT TO RiZULi{iE THE Pii|NClPM. N=ii?iii\i`i` UF T}ii$ N£l’i'i':. lF | iii!ii’\'-ii li FA?.T!AL
PREPA\'MENT, THERE i'.'lLl. BE NC| CHANGES lN `liiE Di.\E DATES 00 iii THE F\MDUNT DF Ii'z‘! MUl`~il|‘ii.‘l PAYMENT UNLESS `iiii? NDl`ii HOLDER
AGHEES lN i'iR|TlNG TD Tl-lUSE CHANGES.

 

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5. none manson l “"

ll a lau, Whloh applies to this loan and which sets maximum loan ei:rarges1 is finally interpreted so that the interest
or other loan charges collected or to be collected in connection with this loan exceed tire permitted limits them (a) any
such loan charge shell be reduced by tile amount necessary to reduce tire charge to tile permitted limit,' and {b) any sums
already collected from me which exceeded permitted limits will be refunded to mel Tlle Note I“Ioldel‘ may choose ‘CO
make this roland by reducing the Principsi l owe under this Note on by making a direct payment to me. lf a refund
reduces Prrneipal, tire reduction Wil.l bc treated as a partial Prepayxnenti

6, BORRQWER'S FAILURE TO PAY AS RBQUIRBD
(A) Late Cllerge for Overdue Pavments l
lt tire Note fielder has not received the full amount of any monthly payment by tire end of 15
calendar days after the date it is due, l Will pay a late charge to the f otc Holder, T.ne amount oi the charge will be
5 .O % ot my overdue payment of principal and ntersst. l 1still pay this late charge promptly but
only once on each late payment
l`B} Defa`ul'l: L
ll’l do not pay tire full amount of each monthly payment on the do e lt is due, `l will be in default
(C) Notioo of .`Del’avlt
H l arn in default the Note Holder may send me a written notice tllilng me that if l do not pay tire overdue amount
by a certain date, tire Note I»lolder may require roe to pay imntcdiatel tile full amount el Prinelpal Whlcll has not been
paid and all the interest tbst`l owe on that amount Tnat date must be t least 30 days after the date on which tire notice
is mailed to me or delivered by other meane. -

{D) NO Waiver `BYNote Holder ‘ .

]?')ven ii, at a time when l am ln default tire Note Holder decal not require me to pay immediately in full as
described above, the Note Holcler Wlll still have tire right to do so ill exit in default et a later time

(]"l`) Paymont Of Noto Hol£lef’s Costs and Ezqrenses . l

ll the Note Hr)lder has required me to pay immediately in full ad dweribed abovo, tile l\lote Holder still have the
right to be paid back by me for all ot its costs and expenses in colo eing this Note to the extent not prohibited by
applicable iaw. Those expenses includel for example reasons ble attorne s’ fees.

7, GIVING CF NOTICBS l -

Unless applicable law requires a different method1 any notice that must be given to roe under this N`ote will be
given by delivering it or by mailing lt by first class mail to rne at the Ptoperty Address above or et a different address it
l give the Note Holdor a notice of roy different address ,

nov notice that must be given to tire Note Holder under this Note tv:l_ll be given by delivering lt or by mailing it by
first class mall to tile Note .`l-Iolder at the address stated in Seetion SCAl) above or at s different address it l ann given a
notice el that different address

8. OBLIGATIGNS OI?PERS ONS UNDER TI'IIS NOTE l

lt more than one person signs this Note, seen person is fully and ersonally obligated to keep all of the promises
roads in this Note, including the promise to pay tire toll amount o ed. Anv penson Wllo is a guarantor, surety or
endorser ot this Note is also obligated to do these things lent season no takes over these obligations including the
obligations of a guarantor, surety or endorser of this Note, is also obligated to keep all of the promises made in this
Note. ’l'he Note I‘loldor may enforce its rights under this the against each person individually cr against all ot us
together. 'l`lals means that any one et us may be required to pay all of tne; amounts owed under this Note.

9, Walvnns § s

l and any other person who has obligations under this Note waive tile rights ot Pteseotrnent and lil\lotzoe of
Dlsbonor. "Prcsentment“ means the right to require the Note Holder lo demand payment et amounts due. Notice of
Disltonor" means the right to require the N"ote Holder to gch notice to other persons that amounts doe have not been

pald.

10. UNIFORM SIICURED NOTE d _ ` _ v

Tnis Note is a uniform instrument with limited variations in sol e airlsdletrons. lo addition to the protections
given to the Note Holder under this Note, a Mortgego, Dced of `I‘rust or Securltyl Deed_ {the Seoutlty loatrument ),
dated the same date as title Note, protects tire Note Holcler from possible losses which might result ltI do not keep the

BSBNlFl.l town page 2 ar s

ann manion 2:47 PM_

 

 

 

 

 

 

 

 

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‘ * 1‘ §:)
the promises Whloil l make in this No'te. 'l`hat Seourlty Inst§um¢n+. d"c»scribes how and varies what conditions I may be

§e§;iuired to make immediate payment in full oi' all amountal owe dader this Note. Sorne 0§ those conditions read as
0 UWBI

IE all or any part of the Propen?f or any latere»stin the Pxo;se:.~ty‘ is sold or transferred (orii’ Borrowes la
not a natural arson and a beneficial nteregt in Borrower is sold ' y “tcansferred) Withoutl.ender’s prior mitth
consent Leq er may re uer immediate payment in full of ali sums secured by tbis Securit,v mstrument.
Howeve:, this option sba not be exaco]sed by Lenr£er ii such exegcise is Probibi’ced by A plioable Law.

If Lender exercises this opticm, Leucier shall give Bcrrro‘®ei* notice of uccoleration. Th& notice shall
provid_e a period of not less than §§ days from the date thenotlce is given in ascerdance Wlth Seotlon §§ vitth
which Borrowee must pay aii sums secured by this Security Ins rument. If Borrower fails to pay these sums
prior to the expiration off this perlod, Lender may invoke any ren§m<lies permitted by this Seour£@yInstrumant

Wii'hout iuuthsr notice or demand on Borrower.
l l. DO CUMENTARY 'I`AX \
'1`!:1@ state documentusy tax due on this Nm';e has been paid on the mortgage securing this indebtedness.

WITNBSS THE I~IAND(S) AND SBAL(S) OP 'I`HE U\IDERSIGNEI§>.

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EXHIBIT

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BANK oF AMER\or-\. N.A. - - ‘ '

BUOO SOUTNBIDE BL.VD., #600
JACKSDNV€LUE. FL 322§60000

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L.O
MORTGAGB

 

DBPIN}TLONS

Words used in multiple sections of this document ass defined below and other words nrc defined
in Seotions 3, H, 13, 18. 20 and 31. Cectain rules sogacdlng the usage of words used in wis
document are also provided 1a Seoi;lon 16.

(A} "Soour.lfy §ostrumont" means this dooomout, Whlob is dated DECEMBER 29, 2003 ,

together with all Ridofo io this dooomeot.
{B) “Borrowo:" is ROLAND K M!\Kh UNMARR[ED

Borrowor is the mortgagor under this S:zour}.tyl Iostcumeo.t.
(C) "Lon¢‘tor" is BANK OF AMER l Cl\ , N .A.

Londo:isn NATiONAI- BANK|NG ASSDC\A'TION
organized md existing ondor too laws of THE UNETED SE'ATES OF" AMERICA

FLOR!E!A“.SIHQ|G Fé!m\ly " ann!a Mao!F‘roddln Moo UN!FORM INSTNUME[\I`F 'Foz‘m 3010 ’UU’]

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l ‘ozz ooTBES Po 1137

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Leoder’s address lo GUOO SOUTHS! DE BLVD. , tFEOO, JACKSGI\EV l LLE , FL. 322560000
Loodor is the mortgagee ooer this Sooocity lostromoot. -

lD) "Noto" means too promissory oo`€o signed by Borrowor ond'<]oted DECEMBER '29. 2006 .
Tllo Noto states that Borrowor owes Loodor SEVENTY NINE THOUSAND NFNE HUNDHEU
TWENTY AND OU/ 100 Dollor$
(U.S. $ 79 ,920 .GU ) plus mtoreat. Itorxooo;' has promised to pay this debt lo regular
Por‘loolo Poymoots and to pay the debt in full notloter than JANUAHY 01 , 2037 .
(B) "Property" means the proporty that lo described below outlets the heading "Traos£er of Righls
to tho Property.“

(P`; "Louo" means the debt ovldoocecl by the Noto, plus lotoroot, any psopaymeot oh:ogo‘.t and late
charges doe under too Noto, and all some due undor this Soooclty loatromoot, plus lotoreot.

(G) "Rlo‘oro" means all Ridors to this Seourity Iostromont that are executed by Horrower. 'l`he
following Rldors`aro to bo executed by Bor:owor [oh$ok box as appllooblo`l:

Adjootoble Rato Ridor Condomln£oro Rldot F_`_`] Sec:ood 'I~Iome Rldor
Baliooo Rldor Flooo.od Uolt Dovolopmoot Rldor '1'4 Fu,mlly Ridor
VA Ridor Biweokly Paymoot Rldor Other(s) fopoolfy]

{H) "Applica‘olo I.aw" means ,oll commonng applicable federal, otato aod, local omtotw,
rogolatlooo, ordioaooeo and administrative rules and ozclo:o (that have `tho effect of loW} as well as
all applicable final ooo“nppoalable judicial oploloos.

{I) "Commonity Aosooiatioo Dues, Feca, md Aooossmoots" means all closet fws,
assossmento and other charges that are liopoood on Boi‘rowor or the ?:operty lay a condominium
aaaooiatloo, homeowners association or similar orgoolzntioo.

(`I} "Elootronio floods Tz:aosfor" means any transfer of foods, other than a tramw¢tloll
orlgloated by oboolc, dru%t, or slmllor paper lootromoo.t, whloh lo loitlutod through an olootmo.lo
tocrloioal1 telephonic iostmmoot, oomputcc, or magneth tape so us to o:der, iostmot, or aotho:_ize
o financial lnstlwtion to doblt oc credit ao account Suolt term lnolodoo, but is not limltoc} to,
point“of’oslo transfors, automated teller machine transactiooo, transfers loltlated by tolephooo{ Wiro
transform and automated clearinghouse transfers.

(K) “Bsorow Itomo“ means those items that aro described lo Seotloo 3.

ll,) "Misoolloooouo I’roooods" means any compensation szztrflos'oont.z award of damog`e.o, or
proceeds paid by my thlrci party (otller than insurance prodoooo paid under too coverages
dooorlbcd l.o Scotloo 5) ior: (l} damage to, or destruction of, the Propony; (il) oondomoutloo or
other taking of ali or any part of the Propoxty; (i§l) convoyaooo lo §_loo of ooooomoatlon; or (11.*]
mootepreseotatloua of, or omissions as to, the tai'oo ondlor condition o£ too Proporty.

lM) “Mo:tgogo §nsur_aooo" means insurance protecting loader ugalnst the nonpayment 0E, or
default on, the Loao,

(N] "Porlodic Payco_on " means the rogolosly scheduled amount doe for (l} prloolpal and
interest under the Noto, plus {h') any amounts under Seotloo§l of title Sooorlty Iostmmoot. ‘

lh|llnls\.,_.&
Form 3010 'S!Gt

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oth mae/us mt PM-

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(O) “BESPA“ means the Roai I'ittate Sottloment Prooedores hot (12 U.S.C\ Sootion 2601 et seq,}
and its implementing regulation ita notion X {24 C.F.R. Pa‘rt?»§ilu), ar thor might he amended
from time to timo, or any addition or successor legislation or regulation that governs tim same
subject matteo no used in this Becurlty lostromont, “RBSPA" refers to all requirements and
roatrlotlonn that aro imposed in regard to a "iederaiiy related mortgage loan” oven if the Loan
does not quotin on a "l’¢doraily related mortgage loun" under RESPA.

(P} "S‘ucoesnor in lntoroot of Borxowor" means any party that bna taken title to the 'Proporty,
§:l`lethor or not that party has unsude Borr‘owor’o obligations under the Noto and!or this Seourity‘

zztruxnont.

T*RANSFER 013 RIGHTS iN THB PROPERTY

`This Soourity instrument seizures to Len<ier; (l) the repayment oi' the Loun, and ali ronnwals,

extensions and modifications of the Note; and (ii} the periomnonoe of Borrowor’s oov¢nante and

agreements under thin Soourity lnstrnmont and the Noto‘ F‘or this purgone, Borrower does hereby

mortgaga, grant and convey to london tito following described property loosth in the

COUN`§'Y of FASCO :
[Ty_no of Rooortling Jurlsdioiioni l`bbimu of Ruco:ciing J\>:!.suiciloo]

LOT 763, SEVEN EPRINGS HOMES UNIT FOUR, ACCDRD§NG TU THE MAF' OH PLAT
THEREOF, AS RECGRDED iii PL.AT BDOK 'l£l, F’AE`BES 104 AND 'lOi'), PUBLIC RECURDS
Ol`= PABCO COUNTY, FLORIDA.

l’nrcoi ID Nomhor:M- which currently hue the address of
7226 JENNER AV tamm

flow nom Rlco§\;) colyz.t*loridaSllSBB roman
l"PrOpoI'iY Aciciross : .

TGGE'EHBR Wl','t`H all the improvements now or hereafter erected on the properin wild ali
eminents, appurteuuoooo, and iixtures_l now or hereafter a part 02 the proporty, A§i roplar.omonto
and additions shall niso bo covered by this Soourity lostrument. fill oi the foregoing is referred to
.ln. this Soourliy lnsirumont no the "Prope:ty."-
. j Q/v\
lnltlalu:

czm¢-'Sivl.i crow ma q ,\ 10 Porm 3610 1151

chL met/06 2th Pl.l-

 

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BORROWBR COVENAN'IS that Bo:rower is lawfully nelson el the estate hereby conveyed
end nos tile right to mortgage, grant and convey the Properi§r end that the Property is
unenournlmceo, except for encumbrances of seco:o, anrn;ver warranto and will defend generally
the title to tim Prnperty n ninnt eli claims end demanda, silbth to any encumbrances of renord.

TI:IIS SBCURITY STRUMEN"T` nn)nbines uniform covenanis for national ueo and
non'unlfornn covenants With limited variations by, §urincliotlon in constitute a uniform seco§f.ty
instrument covering real prnpe y.

`Ui\i'.[PORi\/i COVENANTS. Borrower and Lendec covenant and agree an follows

l. Paymonl of P):loeipnl, Ln’£nfesl, Bsozc>w ltnx:ns, Propn‘ymon‘l Chn£ges, and Lato
Cflerge'e\ Bo`rrowec shni.i pay when due tile principal of,nncl intervene on, tile debt eYid@nced by the
Note and any prepayment charges end into charges don under tile Nete. Bor:ower shall nine pay
funds fox Iieorow items pursuant to Seotlon 3. Peyments due under the No'io noel foia Seeurity
loetcurn'e.nl shall be made in U.S. currency However, ii any check or other lne'crnrnen‘i: received by
Lon-:ier ns payment under the l\`iote or this Seoorlty Inetromnni' le returned to london onpaid,

Lon&or may require that any or nil subsequent payments doe under the Note and lois Secnrity`

lostrmnnnt lon made in one or n_::.ore of the following forms, an selected by Len:lec: ia) oaeh'.. fbi
money order; (n) certified nneok, bank oheol:, treasurer‘s cheek or oashier’e ooeelc, revide£i any
such nheoir. lo dcnwn upon nn institution whose deposits are insu:ec§ by a fo oral ngonoy,
inntmmeniallty‘, or entity or (d) J?,lentronio Pnnda ’l`ranofor. 4

Poymente are deemed received by Len<lnr when received of tile location designated in the
Nl)¥e or at soon other location as may be designated by bender in accordance with the notice
provisions in Scotion 15. Len<iez may return any payment or partial payment ii the puyrneni or
partial paymento are insufficient to bring the Loun current il,encies may accept any payment or
pa:tiel payment insufficient to bring the Loan current. without waiver of any rights hereunder or
prejudice to its rigors to sefnse such payment or partial payments in the inform but Lender is not
obligated to npply nunn payments at tile time such payments are noeeptoci. ff ellen l-"eriodio
Pnyment ie- applied ne of its anhedulecl'dne date, then lender need not pay interest on unnp lied
innde. Lendes may hold soon nnnpolinoi funds until Bon'owel: makes payment to bring the an
current If Borrower does not do so notion n reasonable period of time, Lendor elwii either apply
nunn funds or return them fo Borrowor. if not applied earlieln, such foods will be eppiied to the
outstanding principal balance under tile Note immedlotciy prior to fcn'enio:)noml Ncr offset or claim
which Borrower might have now or in the future against lender shall relieve Bo:rower from
making payments doe under the i~iotn and Jlinn Seonri‘ly bzetroment or performing the covenants
end agreements sennre.cl lay this Sennriiy lostrnmon't. _

2. Appllcnlion of Pnymenls or Proceocin. iiilcoept as otherwise dwdri‘ood in thin Seotion Z,
oil payments accepted and applied by lender simii be applied in the following order of priorii'y:
(n} miami due under the Noie; (l:) prinoi of due under the Noto; (oi amounts due nader Sention
3, Snnh payments shall be ap lieci to cecil eriodio Paymont in the order in which it became dne'.
Any remaining amounts sba be ap lied fines lo late ohacges, second to any other amounts doe
under this Seonrily lnei.n)n-lent, and t§on to sedima the rinelpnl balance of the Note.

Ii Leoder receives a payment isom Borrower ?or n rioli_nqneni Periociio Payrnont which
includes n sufficient amount io gay any late charge doe, the payment may be appiiod to the
delinquent payment and file late nhargo. lf more than one Periqdic Payment le oniotencil:sngl Londer
may apply any payment ree¢iverl from lionon in the nepa mem of tile Pcrlodlo Peyments if,
and in the extent thnt, each payment can l)e paid in foll. To o went ih'at any exeeea exists after
cho payment in apglied to the full payment of one or more 'Po:lodir> Fayroenie, nunn exonon`mny be

l network
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applied 10 any lain uhnrgnc éun. Vc)iun’c repayments shall lou n lied flint tn nn re n ment

charging and flinn an described in the Not:? p , pp Y p p y

lilly a§plioatlon of puymnnru, insurance prnn&ccin, or Misnnllnneous `Prnnr.eés to prinnipal due

grider th;; ute shall nut nxioné or pnslpone inn due date. nr change tim amount. uf tire Per‘rc)c‘iio
nyrnon .

3. Eunds for Brcrow Itc>n:.s. Bnrrower shall pay to Lender on the éay Perluéic. Paymnnts
are dues under the bith until the Notn la paid in i.‘uli, a sum (thn "Pundu"]' to provide fur payment
of amounts dun fort (ai taxes and amassments and other items which can attain priority over tan
Seourity Inatrurn¢nt as n lien or encumbrance on tile Pruper§y; (l)) leasehold puymnnfs or ground
rentn on the Property, rf anyi (<>) premiums for any and all insurance required by Lcnéer under
S<wtcnn ,5; and (cl) Mortgage lnnrirancc prennums, ii mm 02 any sums payable by Borru\%r to
hinder rn lieu of ina aymnnt of Mor‘tgage hungarian premiums in accordance with the provisions
uf Sr:otion l(). Ti\enn trans nrn called “Esorow §io,uns," At origination or at any time during ¢11¢)
rean of the Lonn, Londer may require that Cornn.wnity association El>nes, Ileen, and Asswsmenm.
if nny, be escrowed by Bnrrr>'cver, and such dues, fees and onsesam§znte shall be an Escrnw Item.
Bnrrnwer shall promptly furnish 10 Lender: nil notices uf amounts tn be paid under this Sr:otinn.
Bnrrower shall pay I_nndur tire Funcis for Esornw Irems unless L¢nd er waives anrnwe.r’s
obligation to pay the Bu_nds for any or all Bscrnrr Itnms. Lend er may waive Borzower's obligation
to pay tn Lnnd@r Buncis for any or ali Bscruw Items at any ilrnn. Anysuoh mims may only be in
wrlthg, ]'.n the event or such waives Borrnwer shall pay d£rwtly, when and where payab£e, the
amounis due for annr Bsornw Iten:\a fur which pairth of funds ban bean waived by Lanc‘ler and,
ii Lender requires, shall furnish in Lender race pin evidencing such payment within such time
period nn lender may require. Borrower’s nbllgntlun to maine nith paymen’ca and to provide
receipts shall fur all purposes he deemed to bn a covenant and agr¢ennen“r contained in thin
Seourity §l.ustrurne:rn:l as tile phrase "anvnnnn”r and agreemen “ is used isn Soc=tion 9. If `Bomnwer is
obligated to ay- `,E’.surnw Iterns diznotly, pursuant to n waivnr, and Bumuwer falls to pay ther
amount due or an Bscrnw Item, Lendnr may exercise ita rights under Sao£lan 9 and pay nunn
amount and Bnrrnwer shall then be obligated under Seution 9 to repay to Lenéer any such
amount. Lenclnr may revoke the waiver ss w any ur all bisnrow Iterns ns any iln::,n by a notice
given in accordance with Seution 15 and, upon nunn revocation Borro'sver shall pay w banner all
I*unds, and in such nmuunis, that are then required under this Seotion 3.

bender mary1 cit any time, collect and hold Fundn in an amount (a) sufficient to permit
Lender tn apply the Punds at the time annuitian under RESP.A~, and (b) nn‘t us exceed the
maximum amount n lender non require under RESPA. Lendor shall estimate the amount of Funds
due on the basis of current data and reasonable w€i:nat¢a uf expanditurca er future Bsurow litem
or otherwise in accordsnon with Applicable Law.

Tne Funds shall be hold in an institntion whose clepnsirs are insured by a federgl agnnoy.
instrumenwlity, or entity (innluding Lander, if Lundnr is an institution wh<zsa depends are so
insurcd} or ln any Pederal Homn Lonn Banl:. Lender shall apply tire `.E`\‘unds to pay tim ‘Bacmw
home no later than the time specified under RJBSPA. Lendnr shall nor chris o VBorrower for
holding and applying the Punds. annually analyzing the escrow acouunt, ar ver -ylng inc Esoro"iv
items, unless lender _§ays ernwer interest on inn Pnnds and A;,K)Iicabie an pnrn.u'is Lender to
make such a oharge. nless an agreement is made in writing or ppliuable Law requires interest
to be paid on tire Pun<in, Lendnr shall not bn required to pay Bnrrower any intch or earnings on
the Punda. Bor.rbwer and Le,ndcr can agree in writing huwnver, that interest shall bn paid nn the
Punds, Lender shall give to ]30):1‘ovmrz without vimrgn, an annual accounting of the Punés nn

required by `RESPA.
within `\`
Q>w~uwum¢m ‘ norm amc wm

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LE those ls a surplus of Fonds hold lo osorow, as defined under RESPA, Londer slinll account
to Borrowor for tl\o excess foods.la aoooroanoo with RESPA. Il’ those lo a ohodago of Ponas hold
lo osocow,' as dofm<:d ooclor RESPA, loader shall notify Borrowor as required lay llBSPA, ami
Borxowor shell pay to Lcndor the amount accessory to make op too shortage lo accordance with
RBSEA, but lo no more than 12 moothly payments, If tho;'o la a cleiioieooy of floods held in
osoxow. aa claimed under B.ESPA, Londos shall ootl;€y Bosrower aa requiror.l lay Il]£“.S]?A4 and
Bor:owor shall pay fo london too amount necessary to make op too doiloloooy in accordance with
RBSPA, but lo no more than 12 monthly paymentsl

Upoo payment ln full of all sums secured ‘oy thls Sooorlly Iostromeot, looer shall promptly
refund lo Bor,ro'woc any Puoclo hold by Londer.

1 4. Chargos; Lions. Borxowor shall pay all taxes, assessments, ohasges, fiocoj and impositions
al¢mbotablo to the Pcopo:l'y which mm otiaio prlorlty osz this Seou):ll:y lootrumont, leasehold
payments or ground roots on the Proporty, lf any, and Commoolty Asaoolatloo Doos, Foes, and
Aoseooroonts, if au.y. To tho extend that theme items arp Esorow I'lomoi Borrowor shall pay them iu
the manner prov_lcled lo Sootlon 3.

Borrowor shall promptl¥ olsolzargo any lien xleth has priority over this Sooodty L\stromog¢
unless Borcowor: (a) agrees m wrltlng 10 too payment of the obligation accused by the lion in 'é
manner acceptaon to Loodor. but only so long as Borrowor is performing such agreomoo$; {b}
contests the llo:l la good faith by, or doiomio against enforcement of too lion ln, legal proceedings
whloh‘io loodor's o loloo operate to prevent the enfo:oomoot of fha lien while those proceedings
oro poo<llng, hot until such proceedings are ooooloclocl,' or {o} soco'ro~: from too holder of the
lion an ugroomoot satisfactory to `,l'_.ondo; subordinating lbo lion to this Sooorliy lostrumoot. T.f
Londor decarmlm that any part of lbo l’roporty ls‘sobjoot to a lien which can attain clerity ove;
cola Seoorlty Lostsomeot, Lonclor may give Bon‘ovzor a notice identifying lbo lioo. tllln 19 days
of the onto on whloh that notice is glvoo, Borrower shall satisfy the llon or talco one o:;' more of
too aotlops act lorl'h above ln 'tlzls §eollon 4.

loolldor may mquo Bon'owor to pay n ono"llme charge for a real estate tax verification
aodlo: roportlog servloo used by loader lo ooorroolloo wltb. this Loao.

5. Proporty Insor‘aooo, Bo:rower shall keep too lmpsovomoors now ozlsr€lng or hocoallo:
created on tho Proporw insured against loss by llro, hazards included within the tenn "oxtoodod
oovorago," and any other buzaroo lpoiuolog, ‘oof not llm_ltod to, oasch?loalcos and floods. for Wllich
Londo: reqolx:es §nsoraoce. Thls insurance shall be maintained too amounts llooloding
dodootll)lo lovols) and for too porlodo that Lender ,roqul:es. What loader requires pursuant to the
precluding anotooces can change during too term of the Lom. ’l'lle insurance carrier providing the
insurance shall boloi).ooeo by Boo~owoc subject lo Londer’a right to disapprove Borrowor’a oboioo.
which rlgiol shall nos be exercised unreasonably london may require Borro_wor to pny, in
oonoootlon with tlxls Loan, olilloc: (a) o ono"clme ohargo for flood zone determinatloo, certification
mo traolclng sorvlo:=o; or (b} a ooo'~tlmo charge for flood z_ono dotor,mi_ontlon and cortlfloatloo
oorvlces md subsequent charges each tlmo romappingo or sl_mllar changes ooour Wl:loll reasonably
might afloot such dotomxlnatlon or cortlifoa%loo. Box‘xowor shall also be rospoooiblo for lbo
paym.oot of any fees imposed by too Pedoml Bo:lorgeooy Maoagomoot Agoocry la ooo:ooo£ioo wlih
tile soviow of any flood zono dotormloatlon rmoltlog from on objection by Box'u_"owor¢

ll Borcowor fails to molotoln any of the obvorages described abovo. Loodor may obtnlz\
lnoucanoo coverago. at londor's option and Borrowor’s oxpoooo. Looclor ls \mdor no obligal~loo to
purchase any partlrmla: type or amount of coverago, ']Thccofom, such oovorago shall cover Leodor,
bol might or might not protect Borrowj!exz, Borrowor’o eqoltv 111 the Property, `or the contents of

., midway
{T%"B[FL) ‘°“°"’ ' von o w 10 Forro 3010 1}01
ovFL memo em m- -

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the Proporty, against any l‘lsl:, hazard or liabllity and might provide greater or lessor covocago
ibm mo previously ln effect Borcower acknowledges that the cost of the insurance coverago so
obtained might significantly exceed the cost of insurance that Borrowcr coold how obtcmad. Aoy
amounts disbursed l>y Londor under this Socllon 5 shall booorno additional clch of Borrowor
secured by this Scourlty lnstrument. Theso amounts shall hear interest at tho Noto mo from the
onto 02 disbursement and ohcli bo payablo, with such lntoro_at, upon notice from lender to
Borrm‘zcr requesting payment

All lnsorcoco pollle roonlred b l l'_,cnder and renewals of such policies shall bo subject to
Londor’c right to dlsapp'rovo such po clcs, shall moludo a standard mortgago clauso, nod shall
memo Len<ler as mortgages cod!or as no oddltlonal low pcyco. Lenéor shall have lhe right to hold
too pollolcs and renewal cortlfloctec. If Lendei‘ rcqoizos. Borrooor shall promptly glve tc hinder
all recognize of palo premiums nod renewal notlocs. li Bon:owor cousins amy form of insurance
oovorago, no~€ otherwicc ro ulced by Lon¢ler. for damage tc, or dootrcctlon o£, tho Pcopcrby, such
polio shall include c arco ord mortgage clause and shall manzo Lour.lor co mor“cgogee undior ao no
addi;t coal loss pcyco. '

lo thc went of ioas. Bcrro*.vor shall give prompt notice to thc insuraocc carrier and Leoder.
Londor may make proof of loss if not mado promptly by Borrower. Unloss Londer land Borrowor
otherwise agree lo writing any insoraooo pcocceds. whether or not the underlying insurance was
roqolrod by Londoc, shall ho applled to restoration or repair of the Proporty, if the restoration or
repair lo economically feasible and Londer*o security £o not lessened Doring ouch repair and
seatora'tlon porlorl, Lendcr ohall novo the right to hold such insurance prooooclo until loader has
had an opportunity to loopect such P:;o crty to ensure thc work has boon completed to Lcns:ler’s
octlsl?coi.lonl provided that such insoool on shall bo undertaken prom_oily. Loo<lcr may dlol)orco
proceeds for tho_ropclro and roctorutlon lo c single paymooi; or Lo, n series of mng PHYLU¢€\TS'BH
the Worlc is ooooplotcd. Unlcss un agreement la roads in orlilcg or op loohlo Law soqolreo
interest to bo polo on such loomsanco~procoocls, I,on_dor shall oct bo requireé to pay -Borrower any
interest or oarningc on such lorocoods. Poos for public adh:stcrs, or other third parllco, retained by
Borrowor ohcll not ho paid out of the insurance proom’,ds md shall ho the sole obligation of
Borrowcr, If too restoration or repair lo not economically feasible or Lenoc:’o occorlty woold bc
loosened. the ln<:urancc proceeds shall be s_pli'cd to lho sums secured by this Security Ioctroment,
whether or not then cloc, with the oxcocs, cny, paid»to Borrowcr. Such inoora.ccc proceeds s
be apolleo in the order provlclod for in Sootion 2.

T.E Borrowor abandons tho.Proporty, fowler may filc, oogoilcto and settle any available
insoch claim nod misled mattero. IE Borrowor alcoa not respond wltlzlo 30 days to a oo€loo
£roro Leoclcr that tho insurance carrier has offered lo settle n ciclm, then Londor may ncgotln%o
and settle the claim. ‘l"ho BS'oon orlocl wll.l hogln when thc notice ls glvonr Io either ovont, or l!`
l'..eoclor accruch thc Property on or Socfion 22 or othorwloo, Borrowor heroin noslgos to I..onclcr
(o) Borro\.cor’o rights to any insurance proceeds lo an amount not “eo amoco o'omo'unts unpaid
under thc Notc or this Sccorlty.lno'srument, and {l)) any othor‘of Borrosvcr’s rights {ofher than the
right to any refund of oncarnod rcrnioms paid by Borrowor) onoor all insurance olioleo
covering thc Proporty, insofar us soc rights oro applicable to too coverage of the Proporty, nder
may usc the lnsoru.ooo proceeds either to rcpalr or restore too Proporty cr to pay amounts unpaid
under the Notc or Jcolo Scocrity loatwmcot, whether or not then doc

6. Gcoopancy. Borronfcr shall coco y. eatabllsh. and usa too _Pco£crly ca Borrowor’c
prlccl;ool residence within 60 dayo after t o oxeootion of this Scoorlty otrumcot and shall
contfnoc to occupy the Proporty as Borrowor’s principal rcsloonco for et least one year after the

lnlllalsg Y!
Form 3010 1/01

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date of occupauoy, unless Lendsr otiiorwiso agrees in wriilog, whioii conson’c shall not 'oo
uor:asonobiy withhold or unless extenuating oiroomsianooo e‘§iiot which oro beyond Borrowor's
ooo co .

7. Prosorvntlon, Malmonsuco and Protootion of tim Proporiy; l'nspcoiions. Borcowor
shall not dostroy, damage or impair too Properiy, allow the liroporty to deteriorate or wmml't
mota on iho Proporty. Whoi;hor or not Borrowor is residing ln tile Proporry, Borrowor shall
maintain too Propori:§r in order to provon’c tile Proporty from do'torlorailng or decreasing in value
dod 10 its condition Unless lt lo determined pursuant to Seoi;loo 5 lost repair or restoration is not
ooonomioglly foaslblo, Borrowor sth promptly impair too Proporty l_f damaged to avoid further
dolorior.airon or damsgo. li lnouranoo or condemnation proooods aro paid in connection roth
damage to, or the taking of, tl:o Proporty'. Borrowor shall be responsible for repairing or restoring
too Prooorty only ll lender lia.s released proceeds for such purposes london may disburse
proceeds for too repairs and restoration in a single payment or in n series ol progress payments as
lbo work ls completed ll lho l_ou'uroooe or condemnation proceeds are not oui’fioloo.t to repair Qf
restore the Proporty, Borrowor ls not rolio\rod of Borrowor'o obligation for rim oornplotlon of ouol\
rcpsir or restoration~ _

london or its agent may make ronsonablo on£rios open acid inspections of the Proporty. li lt
has reasonabl.o couso, Londor may lnspoot. ills lntorlor of the improvements on too Pr'oporty.
Londor soall givo Borrowor notion at tim time of or prior to soon so inferior inspection specifying
such reasonable cnuso,

8. Bon:owor‘s Loun Appiioation\ Borroi\zor shall bo in default lf, durl_;og the Loun
application proooos, Borrowor or early persons or entities acting at tile direction of Borrower or
with Borro\vor’o knowledge or oonsoni gave mstoriaily ioloo, misleadingl or insooo'rnto
information or statements to Londor loc inllod to provide Londor with material Lolormoiion} in
connection with tire Loan, Mntorlal representations Inc:iodol but aro not limited `to, representations
concerning Borrower’s occupancy of too Proporty as Borrowor's principal rosidonoe.

9. Proieotio`n oi Lendor‘s Io‘horsri lo tire Proporty and Righio Undor this Soourliy
Inoirurneni. If {a) Borrowor fails to perform the covenants and agreomonis contained ln thin
Seourlry lostrurooni (b} there is a isgrl proceeding that might significantly affooi Len<lor’s wtereot
in tire Properiy and/or righis under ohio i>‘eoori‘cy lostrumont (sooh as o proooodiog in baulcruptoy,
probsio, for oondomoo‘cion or foci`olwro, for enforcement ol’ s lion which may attain priority over
lois Seourity lootromont or to enforce laws or rogolalioos}, or (o} Borrosvor has abandoned tire
Proporly, then Leodor may do and pay for whatever la reasonable or appro rlaio to proteo§
Leorlor‘s interest in roe `Proporiy and rights under thin Sooorlty Iustrurneni, lou odlog protecting
main assessing the wine of the l>ropsro, nos securing undier reprier the Pror>o'o‘ L@nd@r'a
notions can lnulude, but are not limited 1io: (a) paying any sums secured by a lien which has
priority over this Soourioy lostromsnt; llo) appearing in oourt; and (o) paying reasonable stiomoys'
feca to protect irs interest in the Property andlor rights under this Seuorlty lostromon*c, including
irs secured position ln n bankrupth proceeding Seourlng the Proporty included but is not limited
to, entering tb.o E’rooorty to make ropairs, change looks, replace or board up doors and windowo,
drain water from plpcs, oliminate building or other code violations or dangerous oundltlooo, soil
have utilities turned on or oif. A.iihoogh Londor may iach notion under ohio Scoilon 9J Loodor does
not hsvo to do so and is not under any duty or obligation to do oo. It is agreed that Londo): lnooro
no liability for not wiring any or all aotiouo authorized under this So<)ilon 9.

Aoy amounts disbursed by 'Lendor under this Sooilon 9 shall beoomo additional debt of
Boo‘owor occurred by luis Sooority lostrurnont. 'Phose amouots shall bear interest st the Noio rare

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from the data of d'rq’nursemen”r and shall be payable, wlih such intercst, upon notlco from Lender
to Br)rrower requestmg paymeat.

this Securi‘ry lustrumrs`nt is nn r. lczmehoi<ix Borrowur shall nom ly with all the pruvislczns
of the lease. If Bormwcr ooqulres fee tide to the Proper’cy, the leaseij and the fee ‘t§tlr) shrle not
merge umwa bender 11ng to the merger in writ§ng.

i(i. Morigage In.rurnne:e. lf Lencie: required Mortgr\ a §nsurarrco as a condition of making
the Lnaa, Borrower shall pay the premiva required to m rain the I\;Iortgag'e Insurance in affect
lf, for any reaaou, 1116 Mortgage lamrancu coverage required by bender ceases to be available from
the morth n Ins\)ror that previously provided such insurance and Bcrrower was required to make
separately mignated payni¢nw toward tha premiums for Mortga o l`nnumncs, Borrower shall pny
the premiums required to obtain coverage substm%ieily cqi!lva£i’erit to the Mortga e lowrance
geviously in effect ar a cost aubateniialiy equivalent to the cost 10 Borrower of e M€>rtga 6

surnncp prevjqusly m ef§cot, from rim siter'nv.te mortgage hammer selected by Larrdcr, §"_P
subsiazrtlally eqmv:slccrt Mc).rtgage, lnsuranoe coverage ira nut available, Bormwer shall continue to
gay m Lond€>r the amount of the separately designers-d payments that were due when theinm:rance
coverage ceased to ira in effec;€. Lendur will sooept, use and retain there paym¢ms as a
non‘reiundable less reserve in lieu of Morr age ln:rucane¢, Su<)ll loss reserve rlan he
mmr¢iurxdable, noiwlthstandir\.g the fast that the can ip uitimutely pald ir.\ full, and Lon<ie.r shall
not be reqnlred ro pay Burrower any mercer or earnings on much 105§: r¢se:ve. llaner con no
ion er require loss reserve paymema if Mortgagc lowrance coverage (m the amourrt and for rha
perini that Lender reqz)rres) provided by an lnrurer ackeored by Le.nds)r again becomes uvallable, is
obtamcd, and Leméer requires se armed designated paymerds toward the premiums icc Mor£gage
lmwrrxnce. If bender required engage lnsurarme as a condition of making the Lorm and
Borrower was required to make scparrrial\;r designated payments toward the premiums for
Mortgage Ir:surance:, Borr<)wer shall ry fha premiums required to maintain Mortgaga lawrence
in effect, or to provide a ncr;n‘e£un able loss merve, until Lcnder’a requirement for Mort§agc
Irlsurzmce ends in ncoordarroe with any written agreement beuveen Borrower and Landar provl tug
for such termination cr until rerminatl<m is requi .d by Ap§l§cable Law. ,thhlng ira twa Secf;ion
10 affecw Borrower’a obligation to pay informer rt the raw rovlded 111 the Nc>re.

Mortgage lowrance reimburses Luader (or nn egtl thatdpurchaaes the Nota) for curiam
losses it may focus if Borrcm'fer does not repay the man ass agree . Borrower is not a party w the
M<)rtgage Irrsuranoe. ‘

Mprtgage insurers evaluate their tmi risk ca all such insurance in force from time to time,
and may enter into agreements with other parties ihat aware or modify their r!ak, or reduce io&ecs.
Thero ngrcemer:ts are 011 terms and conditions that are satisfactory to the mortgage §m~urer and
the other party (r>r pmies) w share agrrmrrema. These agreements rnur require fha morrgag<‘»
inauresr to make payments using my source of funds that the mortgage .msr:rsr may have avmls.ble
(Wk\lch may include funds nbtalnucl from M<)M=gugo Insu.rancc prem nms). _

fm a result of these agreemenw§ Lender, any purchaser of the Nnte, mrci’c}ger mqurer any
xeinsurer, any other outity, or my affil§aia of un of the f¢:)rr)golngf may receive {du‘eotly or
indi:eot£y} amounts ther derive from (0r might characterized 1as a portion of Borrower’s
paymsnfa for Mortgage £nemrnuoe, 111 exchange for sharing or moériy g the mortgage insurer`s
risk, or reducing lesser li such agreement r'uvldes that m affiliate of lamar takes n shore of the
insureds risk lo exchange for a share of t 5 premiums paid 10 the insurer. then arrangement ls
often formed "ca_pilvo resinsui'auce." Fur¥her:

{rr) juij sur-h agreemean will 1101 affect the smounis ilmt Bozrr)w'er has agreed to

ny for Morigage Insd:rmcc>, or ray other harms 05 the Lexm, S‘mz]l agreements wjji not

Yucroaso the amount Borruwcr will owe for Mc)rigago lusurnnce, and they will not entitle
Borrower to any refrmél.

Any suph agreements will not affect the rigjlis Bor:ownx has ~ if any ~ WWJ\

respect to the Mortgugo fnsurar).cw under the Homcownorn Proicution Act of l998 or any

lt'l|i|nid'.____
cz§=,&-a£mwm) m. m w mm amc wm

rvrx. mea/us mr m *

 

 

 

 

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other Inw. Those rights may loolurlo lbo rl,§'l;l lo receive contain disolo$uros, lo request
and obloln cancellation of tim Mol'lgagc s\u'aoco, to have 'l`llo l\'lor'tgage insurance
inculpaon notomal-loolly, major to receive n refund ol;' any Mortgogo Insusn:coo
promlums thai wore unearned of the lime of such onone.llallon or tormioalloru

ll, Alssignmem of I\/flsocilozl=>ous Proceods} Forfolture. 1331 Mlaoolloooous Proooods are
hereby assigned to soo shall be gald to Loo<ler. ‘

lE the Proporty ls _damago , such Ivllooolloneous P;ooeeds shall be applied 'lo rosto:a“lloo or
sepulr of the Proporty, l_f the res:oratloo or repnlr lo e,oonomlcally loaslble and Looder‘a security la
not lesseood, Durlo.g such rolpalr and rootoraooo poriod, l.eoder shall have the right to hold such
Mlsc¢llnnoous Prooooda \mtl Leodor‘ bee had no op)gorluulty to los oct such Proporty to ensure
tim work has boom completed to Loodor’s satisfaotlon, §rovlded tll])at such inspcollon shall be
undertaken promptly Lendo§' may pay for the re alia ann restoration in 11 single disbursement or
ln‘a, searles ol’ :oireso payments as the work s completedf Uole,so ao agreement ls mario in
wrltmg or App on lo Law roqulreo lol<)l'eot to bo pald on such Mleool£aooouo P:oooocls! Leodor
shall not he sequzrecl to pay Borxowor any luisreot or meanings on such Miscollaneooo Proo¢ze<lsz If
the sastol'atlo'o or repair ls not economlonll` foaolblo or Loodor's security mold be leosomod, ‘cho
Mlooollanooos Prooaoclo shall he ali lied to t o sums secured by this Seourl’cy Iootsuroonl,whether
or not then duo, with €ho oxooss, ouy, paid to .`Borsowec. Suoh Misoollu.ooouo P).'oooeds shall bo
applied in lllo order provided for 111 Seotloo ?,.

lo lllo wool of a total taking, destruction, or logs in value of too Proporty, too Mlouellonooos
.P:ooceds shall bo applied to the sums secured by this Seoorlty lostxumont, whether or not t§xeo
duo, with the omass, ij any) said to Borrowoc. ' _ `

lo line event of n pam , taking dest:uotlou, or loss lo valuo of too 'Pro!§e,:'ty lo which the fair
market value al the Pr.oporty lmmedlatoly before eha portlal taklog, destruotloo, or loss lo value ls
equal to or greater than the amount of too sums secured by this Soooslty loom-lamont lmm¢dlatcljr
before the artlnl toklog, doolruotlor\, or loss lo valoe, unless Bon'owoc and Looder olhofwlso
ag:eo 511 m tlog, the sums secured by this Se<>uri‘l:§r Inot:umoot shall be reduced by lbo mount of
too Mlsoollaooous Proceeds multiplled by too following fraotloo: (u) the total amount of the sums
soourecl immediately before the par$lul mklog, destruction of loop m value divld¢d b (b) file fail
market value of too Pro early immediately before the partlul tul<ing, dootcuotloo, or oss in valuo.
july balance shall bo psi lo Borsowor. l l

111 tim event of a parclol tal:lng, destrootion, or loses lo value of the Propecty m whlol\ the fair
market value of the Pro my immediately below the parlial laking. dos'cl'uotloo, of loss lo value la
less man too omouot o iho sums secured immodlatol"y before too porth tokio , desiruotloo, or
loew la valuo, unless Bocrowe: and Leodor otheruflso agree lo erilog the I\J£lsool ooooos Pro¢oo<ls
shall bo applied l'o *cho sums secured by this Secuclty lostsoro,oot whether or not tim-sums aro lheo

duo.

ll too Propel:ty ls abandoned by Bo:rower, og ll’, after notice ‘oy Leo.der to `,Eorj'owoc llml' the
Opposlng Porl;y loo defined ill ‘tho omit son*seocc) offora to make no 21de to settle a olulx:o for
daxl)agea, Borrowor falls to respond to l_ondor wltbin 30 days after the date the notch ls g{\’€m,
Loodor ls authorized to collect and apply the Mlsoollaooouo Prooeods either to rostoratlosl or
repalr of the P.co c:ty or to the sums secured l)y thls Soourlty lostruroon't, Wholl.zor or slot then
doe. "Oppoalo nrry“ means the third party that owes Borrowor Mlsoellooeous Prococcls or the
party agemsi w oo:\ Borrowor has a right of action lo regard to Mlscelloooous P\:oceeos.

Borrowcc shall be lo default if any aotloo or procuedlog, whether olvll or orimioal, ls begun
that, lo Loodor‘s judgment, could sesult in forfeiture of lbo Proporty or other matcrlal
impairment of Lenclor's interest in the Proporty or rights undoz‘ this Seouclly Ios!rumont.
.Bor?owe: soo ouro ouoll a default aslé, ll aoooiaratloo has ooourro<§, ralnsmo as rovlded la Soo€lon
l9, by coming the action or roocediog to be dismissed wilth rullog them lo endor'n godgmont,
precludes forfeiture or the moody or other material lmpalrx:oent ol Looclor's lntorost lo the

lnll|o}s: W&'!
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.Propfsrt}r or rights under thin Soot)rity Instrorhent. 'I`hn orooeeds ot any award or claim for
damages that are ottrrl)utahlo to the impairment of Lehc`lor n interest in the Proporfry tire h¢f¢b?“
nsaignod nod ottuf] bn paid to Lender.

hit Miooolinneous Proonodn that are not ap lied to restoration or repair of thus Proporty shall
' bo ooi>llod in the order provided for in Seotion ij .

2. Borrowor Not Roionsnd; Forbonronoo By Londer Not a Wat'tfor. Extonoion of the
time for pnymout: or modification of unionization of the sums aroused §)y this Seourity
Lontromnnt granted by Lonclor to Borrowor or any Sooooosnr in Intorost _oi Borro'n'er shall not
operate to release the tinhlilty of Bosro\vor or any Snooeaoorn in lntorest_ of Bomowort Leodnr shall
not bo roaner to commence proceedings against any Suncoesor in Interost of Borrowor or to
refuse to extend time for payment or otltorwlne.modify amortization of the sums secured by thin
Socorlty Iostroment by reason of any demand made by the original Borrowor or any S\Jcoesao:s in
interest of Bnrrotrer. Any forbearance by Lnndor in oxoroisi'n any right or remedy includingl
without limitation1 londor‘s acceptance of Enymonts from thir pnrsons, entities or Successoro in
`L'o.torost oF .Borrowor or in amounts low t an the amount then duo. shaii not bo a waiver of or
preclude the exercise of any right or remedy

13, Ioint nnd Snvora‘l Lia%)liity; Co»signoco; Suncc.,saorv nan Asaigns Bovn<i, Borrowor
covenants and n reno that Borrowor’s obligations and liability shall ho joint and oovnrai. Howove l
any Borrowor tv o co"ni no this Scnurity Ins'tromont hot does not execute the Noto (a "co“sigtlos“i
(a) ln no‘signingpthla county tnstrumont only to mortgag,‘c. grant and eonv¢y the w'slgner’s
interest in the ropert§r under the terms of this Sent)rity §nstrumont; (h} is not personally
obligated to pay tile enan secured by this Seoority instrunnnnt; and (o) agrees thathg.dsr and any
other Borrowor can agree to extendj modiiy, forbear or notice antr accommodations with regard to
the terms of thin Soourity instrument or tim Noto without the no“olgoor’o oonoont.

Sobleot to the provisions oE Seotion th any Sooce.=,sor in totoer of Borrower ho assumes
Borrowor’s obligations unclle thin Seouritf‘lnstroment in writin n andl itt approved by ender, shall
obtain ali oi' Borrowor’s rights and honor ts loader thin Sonnri_ty nntroro.ont. Borrower avail not bn
released item Borrowor's obligations and liability under this Sccoritg instrument unless Lnn:ler
stevens to such rolonsn in writing ’I`he covenants and agreements of this Soourity ]natroronnt shall
E;>an! {exnopt ns grovided in Sootion 20) and benefit the successors and assigns of I,ond¢n'

14. Loan thargos. Lencier may charge Borrower Eeeo for snwrioes performed in oonnnotlon
with Borrower’s default for the purpose of protecting londor’s interest in tim I’ropolty“ ‘anci ri ’hts,
under this Seo\lr:ity iostrm:'lentl lnoluclingl hot not limited to, nttornoys' foos, rIi)roporty msp<:!riion
and valuation foot in regard to any other tons, the absences of exproso autho ty in this Swurity
lnntrur,nent to charge a specific fee to Borrowor shall not ho construed nn a prohibition on t_he
charging of such ioo. Londor may not charge toto that aro expressly prohibited by this Socurtty
instr\)mont or by Appiionhio an, 1

If the Loan in subject to n law which soto maximum loan chargos, and that low is finally
interpreted so that the interest or other loan char ns collected or to ho cottonth in connection
with that Loun exceed the pnrmlttod jinoi.tnl then: (a§ any such loan charge shall bn reduced by the
amount necessary to rodman tho ohargo to the Porntlttod iimit; and (b} any sums already collected
from Bo'rrowor which exceeded ormittnci limits xviii bn refunded to Borrowor-. loader may
choose to make this refund by red%olng the principal owed under the Note or by making a dirt-tnt
payment to Borrowor, If a refund reduces rinoipal, the reduction wiii bn treated an adpnrt!.ai
pi‘e(?nymont without toy prepayment char o whether or not a prepayment merge is provi ed for
un or the Note}, Borrot*:or’n acceptance o any such refund mario h direct payment to Borrower
will constitute n waiver of any right of notion Bocrownr mlg t have arising out of such
overnhar e.

15. ?Notions. All notioo=: given try Borrowor or Lonoor in connection with this Soourity
Inntrumont must he in writingl An§r notion to Borrowor in connection with this Seoority

Enttltls:_&“:\

Q`jf;@»-BIJ=L) moot m, 11 or m Fnrm 3010 1!61
l E\|PL 121201'08 'Z¢‘i`! FH

 

 

 

 

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los‘cromoni shall bc deemed to lxnvo been von to Borrowor whom mailcci by first class mall or
olson actually doll‘vcrcd to Borron'cr'o not co address ii cent by oith mellon Noticc to any ccc
Borrowcr shall constitutes noticc lo ali Borrowcrc unless Apyiicubic l'_.nw expressly ccqnli:cs
othornlnc, 'Iilc notice address shall bc the .P:cpcrty Addrcsc unless Borrowcr hac occlgnalcri a
substitute notice address by notice co Lcndcr. Bcrrower chall promp'€l notify Lcndor cl
Borrowcr’c cbcngc of address. ll I.c~nde.c specifics n procedure for reporting orxower’s change of
edelman then Borrowcr cth onll}7 report a changc cl address throo b that npcci£lcd procedural
Tllcrc rnny bn only one ocslgca'$;ed notice address ondcr this 3chch comment ct coy ccc tlmc.
lilly notice to Lcnclcr shall 'b'c given by colivcrlng it or by mciliniil by iirsl class mail to
Lcoclcr’n address circled heroin unless Lcndcz has declgnntcd moot cr address by notice to
Borrowcr. Any notice in connection with lois Scourity lontroolcnt shall not bc cocaich fo have
_bcec given to Lcodcr until ncicnlly received by Lon<lcr. ll co notice required by this Seoorl’cy
instrument la also required cncicr opplicnl)lc an, tch _)\_ppl!cn‘c c Law requirement wlii satisfy the
corresponding re circo*lcnt under this Scoority inc'tmmcn€,

iii Govcr g LnW; chorai)li:l*ty; Rolc_s of Com.'“croclion. 'l`loio Sccority instrument shall
bc governed by icdcrnl law and the law cl thc jurisdiction in which lbo Property la locatcd. A]i
rights and obligntlonc contained in ibla Scc'ocll‘.y Instcol:ocnt are subject to any requirements and
llmil.ntions of Apgiic:ibic I,n\n'. Applicnblc Law ming explicitly or implicitly allow the par€ioo to
agree by contract or ii might inc ollcn't, but such alloncc shall not 'cc construed ns a roblbltlon
against agreement by contract. lo thc cvcn‘l that any provision or clause of t s Security
Lns:rnmcnt cr the Notc conflicts with Appllcablc Law noon conflict shall not afth other
provisions of tl:lc Sccorlty loctrornonl or thc Noto o.l)icli oco" bc given offset without tim
conflicting provlnloo.

AH used in this Scoorliy lnnt,\:uoncnt: §c) words of thc mascoli.oe .on<lcr shall moon c.n<l‘
inoluclc oorrcopondlng noutcr words or wor c oi the fccnininc gondcr; (b Wordo in tim singular
shall moon noel includc inc plural acid vice versn; and lc) thc word "n:lay“ gives colo discretion
without any obligation to ialcc any notion. _

l‘l. Bor:owcr's Copy. Bor:owcr shall bc given one copy of tile Note ané cl this Sccurlty
loot:omcni. l

lB. Tr‘nocfcr of tdc P:‘opcrty or n Dcnoiioini Inl.erccl in _l’vor):<:\\vo:v As occci m this
Scotion 18 "Lntorcc't in thc Prcpc:ty" means coy legal or bcncfioml interest in tile Propcr'cy,
inolocling, loot col limited lo, those bcocficial interests transferred lo n bond for cfccci contract for
rlocd, inctallmont calco contractor occrow cgrcemcol., chc intent of which ic lch trawler cl title by
Borrowcz' at n futures date to a orchcse:‘. l

If all cr any part of thc ropcrty or any Inlcrcsl in tile Px.‘o only in sold or transferred for lf
Borrowcr in nol c natural person and a beneficial inherent in or:owcr is cold on trcnslco’cd)
wlihooi' Londcr’c prior written conscnt, Loncior memr :‘cqulrc immediate cymcm; l.n full of all
sums secured b this Scou:lty Lnstrcmeot. X§owcvcr, thin option shall not c exercised by ]`.cndcc‘
if soon exercise c prohibited by Appllcablc Lcw. _

ll Lcoclor exercises this optioa. Lco<lor shall give Borrower notice cl cccclcral.ion. 'i`hc notice
clinii provido n pcrlo~:l ol not less than 30 clan from lime cintc icc ootioc is gwen lo accordance mill
Scolion 15 within Wl)lol: Borro".vcr moot pay all come cccorccl by thio Sccurll:y lostrllmeot\
Borrowcr lcllo to pay these sums prior to the cxplfni.ion of thin pcslod, Londcr may invoke any
remedies ormitlcrl lay thin Sccoxll. lostrcmcnt without lortth notice oi‘ écmcncl on Borrowcr.

19, llo:nowcr’s R.l hi to clnstntc A£'tcr Accclcrntion. If Borrowcr meals certain
condill_ono, iiorrowcr shall have the :‘i t to havc colorccmcnl of this Socorliy lnctromcni
discontinued al any time prior to tllc carl ccc cia c.) i’wc days before sale of thc Propcrty po{soaot
to any power of cafc contained in this Scoorlt;c o'omcnt; {b) soon oihc: pc:loci ns Apphcablo
Law might specify ion the torminntlon of Borrowcr*c right lo :clcnlnlc’, or Sc) cnii' of n judgment
enforcing this Sccuril:r lootromcnt. Thocc conditions nrc that Borrowcr: la pays ench all sums

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which then \a'r)old be due under this Socurity loetruroont and the Note ee‘ if no acceleration load
ooour:ed; (b) cores any default of my other covenants or agreements: (o) pays all expeoeee
incurred io. enforcing this Secorlty instrument inoiodin , but riot limited to, reasonable attorneys`
ieee, property inspection acid ’veiuetion feee, and other eeo lowered for the purpose ofproteoting
Londer a interest in the Piopocty and ri ‘ to under title Seourlty loetrument; and (d) takne much
action ua Lender otey reasonably require o`oeeore that louder’e interest in the P.ropez‘ty and rights
under this Seoc_rity Ioatrument, and Borrowe.v’s obligation to isay the emma seemed by this
Se_ourity loatrumont, shall continue unchanged Lendor may sequiro tilot Boreowcr pay ouoil
reinstatement emma and expenses in coe or more oi the ioliosviog iorrne, as selected by I.ender:
(o) eaeiv (b) money ordor; (o} certified chooi<, bank oheoic, trooeurer’o check or cae.i)ier’o check
provided any soon olieoio is drawn upon an institution tv.’oooo deposits ere insured by a federal
_ageno§;rf instrumentality or eotit§'; oc (d) Bleotfonlo Bunds ’Ireosfor. Upon reinstatement by
ldorrnwor, this Seourity instrument nod obligations secured hereby shall remain fully effective as
if oo acceleration had occurred Howe\ror, this fight to reinstate ebell not apply in the case of
acceleration under Seotion lB,

20. Sale of Notn; Ci:lengo of Loao Soovloor’ Notioe of Grlovouoe. 'l`lte Noto or a partial
interest in tile Note itogetlzor with this Seoority inot):um.ent) eeo be sold one or more times
without prior notion to Borrowe_:. A sole ought resolt in a change in the entity (Iolown as the
”Loe:t Sotvloec") that eolleote Periodio Paymenta due under the Noto and this Seotr:ity Iostroment
end pedorme Oti.\er mortgage loan eerviolng obligations under the Note, this Seourlt:y lneti'umeot,
nod lilpplioebio Law. 'l`liot'e also might ‘oe one or more oileogeo cf the l.oon Servicer unrelated to a
sale of tila Note. lt there is a change of thel,oan Sorcloer, B'orrowe:: still be given written notice of
the shango which will state the name end address of the new Loan. Servicer, the address to which
payments should be made and any other information RBSPA requires in oon.oootioe with a notice
ol' transfer of eervielog. lt the Note is ocld ,aod thereaito: the Loen le serviced by a Loan Servicer
oti_torl titan the purchases of the Note, the mori ego loan assuming obli etions to Bo:rower will
remain with the Loao Servioec or tzo trenefe:red o a successor Loan Secv oec aod ease not assumed
by the Note purchases unless otherwise provided by the Note pureheser.

Noither Bo,:rower nor Lendor may eon:inoenoer §oin or be joined to any judicial notion (eo
either an lodividoel litigant or the member of a oiam) tl\at arises from the other porty’e notions
pursuant to this Seoority lostrumoot or that alleges that tile otl\er party luna vreeehed any

revision of, or ooy duty owed by reason of, this Seourlty lootrumont, until such Borrowor or
lender has notified the citizen gorny {with such notice given in compliance with the requirements
of Seotion 15) of such alleged i-eaoh. and afforded tile other party hereto a reasonable eriod after
the §V.iog of suoh notioo to take corrective notloo. Ii` Applioablo Law iro_vldeo o ime period
wille must elapoo oeforo certain action can lie tnlcoo, that time porto will be destined to be
reasonable for porpooes of this para rapi\. 'l`ilo notice of acceleration and opportunity to cure
given to Borrower pursuant to Seot on 22 and tile notioo of acceleration given to Borroofer
pursuant to Seetion lB shall be deemed to satisz the notice and opportunity to take corrective
notion revisions of this Sootioo 20\

2 . Hazardous Sobstenoee. An oaed in thie,Soetlon 211 {a) “l-Iuearcious Subataooes" are
those substances defined as toxic o.'.~ hazardous scestanoeo, pollutantsj or wastes by Eovi:oomomel
Lew sod the following eubstunoos; gasoi.ine, keroseoe, other flammable or toxic petroleum
produete, toxic pesticides and herbicidee, volatile aoivente, materials containing asbestos or
formaldehyde end radioactive matoaieis; (b) "anlsoomontal Lmt*" means federal lowe and lowe
of the jurisdiction whose the Pa erty le located that zoieto to honith, safety or environmental
protection; (o} "Buviroome_utel 1Leouup" iooludce any response actionz remedial noilon, or
removal oetion, as defined in Bovironmeutel Law; and (d) en "Enviromnen.tol Co.ndition" means

a condition that can cause, contribute to, or otherwise trigger en Eovironmcotel Clccoup.

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Borro'rror shall not cause or permit the prcsooco, use1 dis osalz rtorago, or release of any
Hazurdouo Substaooes, oz throaion ~to release any Hozurclooo Su;:)stancco. 01 or in the Pro ecl;r.
Borrowor abell not dol nor oijow anyone eloo to do, anything affooting'lhe Plcoporty {a) lho€is m
violation of any Eovlroomeotal Law, {b} Whioh` creates an Boviroomeo.ial Coodition. or lo}
\vluoh. due to too presenoo, ooo, or zeiease of a Huzarcious Subotanco, creates o oooditioo that
adversely affects tile value of tile .Proporty, 'Tho preceding two sentences shall not apply to 1110
presencel oso, or storage on rko Proporty of small quaotltles of Hozardoos Sul)siaoceo that are
generally recognized to be appropriate to normal residential uses rod to maintenam:o of the
Proporty (loolndro§, hot not limited toj hazardous substances lo consumer Produots).

§orrowor sba l'promptly give Looder ertleo notion of (o) any inveoilgotlon, c>lnio:o.i domandl,
lawouol or other aotroo by troy governmental or roguiatory o eooy or private party iovolving the
Propo:t;{ rod any Haoardo\;o Su`oslanoe or Eovlronmootai rr of which Borrower has actual
koowlo go, l‘o) any Eorlr¢omomol Coor.iitioo, lnolocllog but not llo:dtor.i toJ any Spllliug, looking
dlochazgo, release or throat of release of any Haoardouo Sul>otaoco, and (o) array condition caused by
the presence \)So or release of a Hazarclous Sul)stunoo \vhioh adversely affects the value of tila
Proporl;?. if Borrowor looms. or is notiiiecl by any governmental or rogolaiory nu*cl:rorll:y'1 or any
grivoto portsq foot amf removal or other remediation ol’ ooy Ho~!.orclous Sub:rtoooo oifeotlog the

moody rs oooossozy, Borrower shall prompily lake ali necessary remedial notions in aooordaouo
With aniroomco“cal Law. Nothing lmrolo shall create my obligating 911 Leocler, for an_
Envlroomentol Cleooqp.
f n NONJUNIE'ORM COVENANTS, Borrowor rod Leocler further covenant rod agree ao
o owa:
22. Accoleratloo; Ilemodlos. Londor shall give notion to Bocrowor prior to
nomination following Borrorr¢r’s breach of any covenant or a moment in this Soouri~ty
lostr'umooi (but not rior 10 oocclororlon under Soo¢.'ion l unless Apyllcublo LSW
provides c)’ihorwiso), "1,`§0 notice shall opeoify', (u} iho default; (b) the action required to
ooro too ciofsa.olt; (o) a claim not loss than 30 days from tim domino notice is given to
Borrower, by which 'tho éofzmlt must ho ourod; and {d} thai failures fo cure the dufoult on
or before the date spooiflo£l in iho molina moy ros\llt i.u acceleration of the sums socorod
by this Soourii loot:oro.cnt, foreclosure by flucilloial proceeding ami san of the Proporty.
The notion oha l further inform ch:owor o l'ho rigid to coinstato often accolorniion and
the righ*c to assert l.u. kilo foreclosure proceeding the noo~c£isionco of a defaoli or any
other defense of Borrowor to uccoloro'lior). and foreclosuro. lt` the defaoli is not cured on
or before iflo dow s ooijlo¢i i.u 1110 oo‘tioo, Londor ot its option ma require immediaio
payment in full of a lsuro_o secured by this Scouriiy lostrumom Wl't mut further demand
and many foreclose this Socurlt‘y losuumem by §uciiolal proceeding , I,co.dor shall bo
entitled 10 colioot all ex opens incurred iu moving the remedies prov dod 111 this Sootion
22, woloéiog, lam not l lied to, roasonob o ottormys’ fees and costs of iith ovidcnoo.

23. Roloooo, Upon payment of all sums secured by this Secority loomomoot, frener shall
release thio Soooz'lty hotcumom:. Eorroiror shull pay my recordalloo coats. Loocicr ma charge
Bor\:ower a ice for releasing this Soourity lootromoot, hot only ii this lou io paid to a t d party
for services rendered amf the charging of lle fee is pormittod under Adpp!ioal:lclawr

24. Attorooys’ Pccs. Ao used in this Soourrty lootrumeot an the Noto, “ai'tomoyo‘ feca“
shall include those awarded ‘oy an appellate court and any ottoro.oya’ fees incurred in a.l)aolcruptoy

j)roocedin]g. 1 ‘ l
25. ory Tx.lol Wolw,r‘. Tho 'Borrowo: hereby wives any right 'to a trial by jury m my

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BY SIGI\HNG BELOW Borrower accepts ami agrees to the terms and covenants contath
111 this Sem)rify Instrument amd in amy lher executed by `Borrowez and recorded with it.

Signed sea led and <iel,lvqred in the pr'e.sence uf:

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